Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 1 of 37 PageID# 32366




                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
                            ALEXANDRIA DIVISION

   SONY MUSIC ENTERTAINMENT, et al.,
                  Plaintiffs,
                                         Civil No. 1:18-cv-950 (LO / JFA)
               v.

   COX COMMUNICATIONS, INC, et al.,

                    Defendants.


     COX’S MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION FOR RELIEF
   FROM THE JUDGMENT UNDER RULE 60(B)(3) AND REQUEST FOR INDICATIVE
                      RULING UNDER RULE 62.1



                                  PUBLIC VERSION
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 2 of 37 PageID# 32367




                                                    TABLE OF CONTENTS

                                                                                                                                         Page

  INTRODUCTION .......................................................................................................................... 1

  LEGAL STANDARD..................................................................................................................... 2

  FACTUAL BACKGROUND ......................................................................................................... 3

            A.         Plaintiffs’ Direct Infringement Case ....................................................................... 3

                       1.         The Hard Drive ........................................................................................... 4
                       2.         The MarkMonitor Spreadsheet ................................................................... 6

            B.         The Charter Evidence: Plaintiffs’ Undisclosed “2016 Project” ............................. 8

                       1.         In 2016, Plaintiffs hired MarkMonitor to re-create evidence they
                                  failed to retain from the Claims Period. ...................................................... 9
                       2.         The music files on the Hard Drive were downloaded from P2P
                                  networks in 2016, years after the infringements alleged here. ................. 11
                       3.         The Hard Drive files were (purportedly) verified by Audible Magic
                                  in 2016, but MarkMonitor concealed the existing Audible Magic
                                  data and (again) destroyed the rest of it. ................................................... 11

            C.         Plaintiffs’ Discovery Violations Laid the Groundwork for Their Trial
                       Misrepresentations ................................................................................................ 13

  ARGUMENT ................................................................................................................................ 16

  I.        Plaintiffs’ $1 Billion Judgment Is Tainted by Serious Misconduct. ................................. 17

            A.         Plaintiffs Misrepresented the Provenance of the Hard Drive and Its
                       Contents, Both in Discovery and at Trial.............................................................. 18

                       1.         Plaintiffs misrepresented the origins of the Hard Drive in pre-trial
                                  motions practice. ....................................................................................... 18
                       2.         Plaintiffs misrepresented the origins of the Hard Drive at trial. ............... 19

            B.         Plaintiffs Deliberately Concealed the Existence of the 2016 Project. .................. 20
            C.         Plaintiffs and Their Agents Failed to Retain or Disclose 2016 Audible
                       Magic Data That Were Expressly Generated in Anticipation of Litigation. ........ 23

  II.       Plaintiffs’ Misconduct Prevented Cox from Fully Presenting Its Case at Trial. .............. 25

            A.         Plaintiffs’ misconduct resulted in admission of the Hard Drive. .......................... 25
            B.         Plaintiffs’ misconduct resulted in admission of the MarkMonitor
                       Spreadsheet. .......................................................................................................... 27



                                                                        i
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 3 of 37 PageID# 32368




  III.      Cox Presented Multiple Meritorious Defenses at Trial. ................................................... 28

  IV.       Considerations of Finality Are Outweighed by the Public Interest in Justice. ................. 29

  V.        Plaintiffs Should Be Compelled to Produce the Charter Materials .................................. 30

  CONCLUSION ............................................................................................................................. 30




                                                                      ii
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 4 of 37 PageID# 32369




                                                  TABLE OF AUTHORITIES

                                                                                                                                   Page(s)

  Cases

  Boyd v. Bulala,
     905 F.2d 764 (4th Cir. 1990) ...................................................................................................29

  Cent. Operating Co. v. Util. Workers of Am.,
     491 F.2d 245 (4th Cir. 1974) ...................................................................................................29

  Ebersole v. Kline-Perry,
     292 F.R.D. 316 (E.D. Va. 2013) ...................................................................................... passim

  Fobian v. Storage Tech. Corp.,
     164 F.3d 887 (4th Cir. 1999) .....................................................................................................3

  Lindsey v. Highwoods Realty Ltd. P’ship,
     2012 WL 10242638 (E.D. Va. Dec. 5, 2012) ............................................................................2

  Midwest Franchise Corp. v. Metromedia Restaurant Group, Inc.,
     177 F.R.D. 438 (N.D. Iowa 1997) ...........................................................................................30

  Pearson v. First NH Mortg. Corp.,
     200 F.3d 30 (1st Cir. 1999) ......................................................................................................30

  Schultz v. Butcher,
     24 F.3d 626 (4th Cir. 1994) ............................................................................................. passim

  Square Const. Co. v. Washington Metro. Area Transit Auth.,
     657 F.2d 68 (4th Cir. 1981) ...............................................................................................20, 29

  SunTrust Mortg., Inc. v. AIG United Guar. Corp.,
     2011 WL 1225989 (E.D. Va. Mar. 29, 2011) ..........................................................................24

  United States v. Moradi,
     673 F.2d 725 (4th Cir. 1982) ...................................................................................................28

  Other Authorities

  Fed. R. Civ. P. 26(a)(1) ..................................................................................................................13

  Fed. R. Civ. P. 60(a)(3) ..................................................................................................................28

  Fed. R. Civ. P. 60(b) ..................................................................................................................3, 29

  Fed. R. Civ. P. 60(b)(2)..................................................................................................................17



                                                                      iii
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 5 of 37 PageID# 32370




  Fed. R. Civ. P. 60(b)(3).......................................................................................................... passim

  Fed. R. Civ. P. 62.1 ....................................................................................................................2, 30

  Fed. R. Civ. P. 62.1(a) ...................................................................................................................17

  Fourth Circuit Appellate Procedure Guide (Feb. 2021)...................................................................3




                                                                       iv
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 6 of 37 PageID# 32371




                                          INTRODUCTION

         Both before and at trial, Cox objected to Plaintiffs’ evidence of direct infringement on the

  basis that it was created after the fact and was therefore unreliable and inadmissible—but Plaintiffs

  repeatedly denied that was the case, and they did so falsely. As is now clear, evidence produced

  over Plaintiffs’ objection in their similar litigation against another ISP, Charter Communications,

  Inc.,1 confirms that the unprecedented judgment in this case was based on evidence that was

  created years after the alleged infringement occurred.

         The Charter record demonstrates the falsity of Plaintiffs’ denials. Through their vendor

  MarkMonitor, Plaintiffs not only compiled a hard drive of the allegedly “infringing” files in

  2016—two years after the 2013–2014 Claims Period (which Plaintiffs’ conceded at trial)—but

  also downloaded those files in 2016 (which Plaintiffs denied both before and at trial), subjected

  those files to verification in 2016 (an act that Plaintiffs concealed from Cox), and then at some

  point after 2016, destroyed that data, despite a preservation obligation (which Plaintiffs also

  concealed from Cox).2 The materiality of these misrepresentations and the prejudice to Cox could

  not be clearer: they were intended to—and did—fend off well-founded challenges to the

  admissibility of key pieces of evidence, the exclusion of which would have crippled Plaintiffs’

  case. Even if this evidence had been admitted notwithstanding its nonexistent foundation, the

  credibility of such after-the-fact evidence created for litigation would have been challenged before

  the jury in a way that was precluded by Plaintiffs’ calculated and sub rosa conduct.


  1
    Warner Records, Inc. et al. v. Charter Communications, Inc., Case No. 1:19-cv-00874-RBJ-
  MEH (D. Colo.) (“Charter”). Citations to “Charter ECF __” are to documents publicly available
  on the docket in Charter. Citations to “ECF __” are to the docket in this case.
  2
    Cox moved to intervene in Charter to obtain materials that it believes further substantiate these
  claims (the “Charter Materials”), which the Charter court denied on the basis that the Charter
  Materials should be sought in this case. Ex. 1 (Charter ECF 521, 521-1, 522, 522-1, 579, and 580).
  Cox respectfully requests that the Court order the production of the Charter Materials. See infra
  at 30.
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 7 of 37 PageID# 32372




         The bottom line is that Plaintiffs lied. They lied to Cox; they lied to the Court; and they

  lied to the jury. And they rode those lies to a $1 billion judgment. Cox seeks relief from that

  judgment under Rule 60(b)(3). Accordingly, Cox respectfully requests that the Court make an

  indicative ruling under Rule 62.1 that it is inclined to grant the motion or, at a minimum, that the

  motion raises a substantial issue warranting further consideration on remand.3

                                         LEGAL STANDARD

         Rule 60(b)(3) provides that “[o]n motion and just terms, the court may relieve a party”

  from final judgment based on “fraud … misrepresentation, or misconduct by an opposing party.”

  There are “three factors that a moving party must establish to prevail on a Rule 60(b)(3) motion”:

  (1) the moving party “must prove misconduct”; (2) “the misconduct [must have] prevented the

  moving party from fully presenting its case”; and (3) “the moving party must have a meritorious

  defense.” Schultz v. Butcher, 24 F.3d 626, 630 (4th Cir. 1994). The rule is explicit that “fraud” is

  a sufficient predicate for relief, but it is also clear that “misrepresentation” and, more generically,

  “misconduct” may also justify a new trial. Misconduct, in whatever guise, must be proved by

  “clear and convincing evidence,” Lindsey v. Highwoods Realty Ltd. P’ship, 2012 WL 10242638,

  at *1 (E.D. Va. Dec. 5, 2012) (internal citations omitted), but the evidence “does not have to be

  result altering to warrant” relief under Rule 60(b)(3), Schultz, 24 F.3d at 631. “Rule 60(b)(3)

  focuses not on erroneous judgments as such, but on judgments which were unfairly procured.” Id.

  (citation omitted). After proof of the three elements, “the court must balance the competing policies

  favoring the finality of judgments and justice being done in view of all the facts, to determine




  3
   Pursuant to Local Rule 7(E), Cox hereby states that it met and conferred with Plaintiffs’ counsel
  on December 17, 2021. Plaintiffs’ counsel did not consent to Cox’s requested relief.
                                                    2
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 8 of 37 PageID# 32373




  within its discretion, whether relief is appropriate in each case.” Id. at 630 (internal citations

  omitted).

         While an appeal is pending, a district court retains jurisdiction to consider a motion for

  relief under Rule 60(b). See Fobian v. Storage Tech. Corp., 164 F.3d 887, 891 (4th Cir. 1999). The

  Fourth Circuit has instructed that, upon a filing of a Rule 60(b) motion while an appeal is pending,

  the district court may deny the motion, or may “issue an indicative ruling under [Rule] 62.1 stating

  that a Rule 60(b) motion … raises a substantial issue or would be granted.” Fourth Circuit

  Appellate Procedure Guide (Feb. 2021).

                                     FACTUAL BACKGROUND

         Plaintiffs repeatedly concealed the true origins of key pieces of their direct infringement

  case throughout discovery. At trial, Plaintiffs exploited the evidentiary gaps that they had created

  to conceal the falsity of two key representations:

              •    That the Hard Drive of allegedly infringing files (admitted as PX-39) contained
                   copies of files that were downloaded from the Internet before notices were sent
                   between 2012–2014.

              •    That the MarkMonitor Spreadsheet (admitted as PX-11) contained verifications of
                   the files on the Hard Drive confirming that they were copies of the works-in-suit.

  These misrepresentations secured the admission of evidence that was elemental to Plaintiffs’ proof

  of infringement, and they were, therefore, highly prejudicial to Cox. In short, they warrant relief

  under Rule 60.

         A.        Plaintiffs’ Direct Infringement Case

         Before trial, Plaintiffs presented an apparently straightforward account of their direct

  infringement case. Between 2008 and 2014, their vendor MarkMonitor crawled P2P networks to

  identify potentially infringing audio files. It then downloaded those files, submitted their

  “fingerprints” to Audible Magic for verification that the files contained infringing material, created


                                                    3
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 9 of 37 PageID# 32374




  a database of the downloaded and verified files, and, between 2012–2014, generated notices for

  infringement of those files when MarkMonitor subsequently observed users purporting to share

  them. See, e.g., Ex. 2 (ECF 325), ¶¶ 4-20.

         At trial, Plaintiffs represented that their evidence tracked that linear progression. They

  introduced the infringement notices, which identified the infringing audio files allegedly possessed

  by Cox subscribers. They then introduced the MarkMonitor Spreadsheet, which was supposed to

  show that the infringing files had been verified as containing Plaintiffs’ works. Finally, Plaintiffs

  introduced the Hard Drive, which they claimed contained the downloaded files themselves.

         Over Cox’s repeated challenges to the authenticity, foundation, and provenance of this

  evidence, Plaintiffs successfully persuaded the Court and the jury that the exhibits were what they

  were represented to be: an integrated and contemporaneous whole created during or before the

  2013–2014 Claims Period.

         Long after trial ended, Cox learned that this narrative was false. Evidence produced in

  Charter has revealed that the audio files on the Hard Drive were downloaded by MarkMonitor and

  subjected to Audible Magic verification years after the notices were sent. Thus, the files on the

  Hard Drive are not the same files used to generate the infringement notices, and the Audible Magic

  verifications documented in the MarkMonitor Spreadsheet were not of the files on the Hard Drive.

  In other words, Plaintiffs’ evidence constituted two mismatched halves created years apart from

  one another—not the integrated and contemporaneous whole they represented it to be.

                 1.      The Hard Drive

         Prior to trial, Cox challenged the Hard Drive’s foundation because it was being offered to

  support notices sent between 2012–2014, but its metadata showed that it was created in 2016. Ex.

  3 (ECF 489) at 4-6. In response, Plaintiffs submitted a declaration describing the content of the

  “hard drive” as “audio files                                                       ,” and as “
                                                   4
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 10 of 37 PageID# 32375




                           ” used for this purpose. Ex. 4 (ECF 538-1) Appx. A, ¶ 24, Appx. 1, ¶ 20.

   Plaintiffs urged the Court to take this declaration at face value, as averring that the Hard Drive

   contained the “digital files that were the basis of MarkMonitor’s infringement notices to Cox.” Ex.

   5 (ECF 538) at 22. Plaintiffs tiptoed around the question of when the files were downloaded,

   claiming only “[f]iles with the same hash value are identical and have the same contents, regardless

   of when downloaded and reviewed.” Id. at 23. The Court denied Cox’s motion, holding that the

   admissibility of the Hard Drive would be addressed at trial, and advising that “Plaintiffs will need

   to lay a proper foundation for … admissibility.” Ex. 6 (ECF 590) at 3.

          At trial, the Hard Drive was first identified by Plaintiffs’ expert Barbara Frederiksen-Cross.

   On cross-examination, she agreed that the files that “were captured during [the] downloading step

   in” MarkMonitor’s verification process and sent to Audible Magic for verification and “were just

   copied from the [MarkMonitor] system onto the hard drive.” Ex. 7 (Trial Tr.) 515:15-516:5; see

   also id. 516:6-20 (agreeing “that’s what’s on the hard drive. The [files] that were downloaded

   [and] matched, those were all saved to the hard drive.”).

          Plaintiffs later moved to admit the Hard Drive during the testimony of MarkMonitor

   witness Samuel Bahun. In so doing, Plaintiffs described the Hard Drive as containing “copies of”

   “all of the music files related” to the “recordings on [the MarkMonitor] [S]preadsheet.” Id. 643:3-

   12. Like Frederiksen-Cross, Bahun testified that the Hard Drive contained “the song files that were

   downloaded from the corresponding peer-to-peer networks.” Id. 648:21-649:2.4



   4
     Prior to this testimony, Cox had again objected to the Hard Drive on lack-of-foundation grounds,
   challenging what appeared, from the Hard Drive’s metadata, to be the ex post facto origin of its
   files. Plaintiffs argued that they had established an adequate foundation for the files on the Hard
   Drive because “[e]very one of the files went through Audible Magic, which did essentially the
   equivalent of a digital listening.” Id. 647:16-21. The Court overruled the objection, stating that it
   was “going to let it in,” and that Cox should “clear up … what it is and what—where it came from”
   on cross-examination. Id. 648:3-5.
                                                    5
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 11 of 37 PageID# 32376




          On cross-examination, Cox asked Bahun “[w]hen were those songs put on” the Hard Drive.

   Id. 705:23-24. Bahun testified—consistent with the Hard Drive metadata—that he thought it was

   created at “the end of 2015, [or the] beginning of 2016, around that time frame.” Id. 705:25-706:2.

   Cox moved to strike the exhibit because it “was made two years after they were downloading the

   files.” Id. 706:12-15. The Court denied the motion, holding that “[j]ust the timing of when” the

   drive was created “doesn’t make it any more or any less reliable.” Id. 706:18-21.

          At the Court’s invitation to “probe further,” Cox inquired where the files on the Hard Drive

   came from and how they were put on the drive. Id. 707:17-19, 708:3-708:7. Bahun responded that

   the files were “on one of [MarkMonitor’s] systems where [it] … would have stored” them. Id.

   708:8-9. Cox also asked “when [the files] were stored on your system,” to which Bahun responded

   that they were stored on “different dates,” and agreed that “some of them” were stored on

   MarkMonitor’s “system when they were first downloaded from the Internet.” Id. at 708:13-708:24;

   see also id. 709:2-12. As for the others, he explained that he “[was]n’t sure” when, but some were

   “downloaded multiple times … throughout the course of the time period we are talking about,”

   that is, during or before the 2012–2014 time period when the notices were sent. Id. 709:7-14. The

   Court denied Cox’s renewed objection. Id. 709:15-16.

          With the Hard Drive part of the record, Plaintiffs’ expert George McCabe testified that the

   presence of each of the works-in-suit on it was one of the “requirements” that the evidence needed

   to meet before he could conclude that a work was infringed. Id. 788:1-789:4, 791:13-24, 792:4-

   14. He then testified that each work-in-suit was present on the Hard Drive, and Plaintiffs used his

   testimony to argue that Cox’s subscribers had infringed each of the 10,017 works-in-suit.

                  2.     The MarkMonitor Spreadsheet

          Plaintiffs offered the MarkMonitor Spreadsheet as the link between their infringement

   notices and the files on the Hard Drive. The exhibit purportedly shows that the Hard Drive files
                                                   6
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 12 of 37 PageID# 32377




   were verified by Audible Magic before Plaintiffs sent notices identifying those works during 2012–

   2014. Like the Hard Drive, the MarkMonitor Spreadsheet was a foundational aspect of McCabe’s

   analysis that Plaintiffs used to prove infringement.

          Before trial, Cox moved to exclude the MarkMonitor Spreadsheet as a discovery sanction

   because “

                                                                              .” Ex. 8 (ECF 239) at 2.

   Plaintiffs notably did not deny that Audible Magic provided data underlying the spreadsheet or

   that some of it was lost, comprising “



               . Ex. 9 (ECF 352). Plaintiffs deflected the issue by arguing, in part, that they had no duty

   to preserve any of this data. Id. The Court denied Cox’s motion primarily on that basis. Ex. 10

   (Sept. 27, 2019 Hr’g Tr.) 75:16-78:5. Cox then moved in limine to exclude the MarkMonitor

   Spreadsheet because the lost Audible Magic data rendered its foundation defective; that motion

   was also denied. Ex. 11 (ECF 492); Ex. 6 (ECF 590) at 4.5

          In an effort to highlight the problematic origins and foundation of the MarkMonitor

   Spreadsheet, Cox next sought to introduce a version of the MarkMonitor Spreadsheet compiled

   after the Claims Period, and that contained some of the missing Audible Magic data. Cox argued

   that this data showed that a substantial percentage of the files allegedly comprising infringed works

   were in fact determined by Audible Magic not to be authentic. Plaintiffs objected to the proffered

   spreadsheet, primarily on the grounds that it would confuse the jury. Ex. 12 (Nov. 12, 2019 Hr’g

   Tr.) 4:25-7:12.




   5
    Cox renewed its objection to the MarkMonitor Spreadsheet and was again denied. Ex. 7 (Trial
   Tr.) 404:8-21.
                                                       7
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 13 of 37 PageID# 32378




           Based on the parties’ competing claims, the Court sought an assurance from Plaintiffs

   whether “there [was] any evidence in the case that the purpose [for compiling this post-Claims

   Period data] was to go back and look at the accuracy of the [MarkMonitor] documents or

   information.” Id. 6:1-8. After Plaintiffs’ counsel represented that “[t]here is no indication that

   that’s the case at all,” id. 6:9-10, the Court sustained Plaintiffs’ objection and precluded this version

   of the MarkMonitor Spreadsheet. Ex. 6 (ECF 590) at 7-8.

           At trial, Plaintiffs used the MarkMonitor Spreadsheet to show that the files that appeared

   on the Hard Drive had all been verified by Audible Magic. MarkMonitor’s Bahun described the

   exhibit as “a spreadsheet that [MarkMonitor] produced containing the records of all the song files

   that we downloaded and verified using Audible Magic.” Ex. 7 (Trial Tr.) 638:19-639:7. Bahun

   then went through the MarkMonitor Spreadsheet and explained that it showed Audible Magic’s

   verification of each of the works-in-suit before notices were sent. Id. 640:9-17. Finally, he then

   connected the document directly to the Hard Drive, describing the Hard Drive as a repository of

   “copies of” “all of the music files related” to the “recordings on [the MarkMonitor Spreadsheet].”

   Id. 642:20-643:12.

           Based on this foundation, McCabe used the MarkMonitor Spreadsheet to link the notices

   with the works-in-suit, explaining that his infringement analysis was designed to ensure that a

   “work in suit is connected to a notice,” such that “there is a direct connection between the two.”

   Id. 792:9-12. The MarkMonitor Spreadsheet, he explained, showed “the Audible Magic procedure

   or connections to go from hashes to works.” Id. 792:21-793:6.

           B.      The Charter Evidence: Plaintiffs’ Undisclosed “2016 Project”

           Discovery proceedings in Charter have revealed that Cox’s suspicions about the

   MarkMonitor evidence were correct. Contrary to Plaintiffs’ trial testimony and their

   representations, the Hard Drive did not contain the digital files that were the basis of
                                                      8
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 14 of 37 PageID# 32379




   MarkMonitor’s infringement notices to Cox, and the MarkMonitor Spreadsheet did not provide

   evidence that the Hard Drive copies of the files admitted into evidence had been verified by

   Audible Magic. Moreover, the Charter evidence shows that the files on the Hard Drive were

   submitted to Audible Magic in 2016—years after notices were sent during the 2013–2014 Claims

   Period—for the purpose of going back and looking at the accuracy of the MarkMonitor documents

   or information, contrary to counsel’s representation that “there is no indication that that’s the case

   at all.” Ex. 12 (Nov. 12, 2019 Hr’g Tr.) 6:6-10.

          What is also now clear is that all of this post-Claims Period work was performed as part of

   a project conceived by Plaintiffs’ counsel in 2016 in anticipation of bringing this very lawsuit (the

   “2016 Project”)—a project that Plaintiffs never disclosed to either Cox, the Court, or the jury, and

   in fact affirmatively concealed. Plaintiffs put the helpful fruits of this project—the files on the

   Hard Drive—at the center of their case. But they failed to preserve much of the other extensive

   data that the project yielded, and successfully concealed the existence of the rest, a great deal of

   which may well raise questions about the reliability of the MarkMonitor system and the validity

   of Plaintiffs’ infringement evidence. Indeed, at a minimum, had these facts been properly

   disclosed, Plaintiffs would not have been able to rebut Cox’s evidentiary challenges that the Hard

   Drive and MarkMonitor Spreadsheet were not what they claimed them to be.

                  1.      In 2016, Plaintiffs hired MarkMonitor to re-create evidence they
                          failed to retain from the Claims Period.

          In Charter, Plaintiffs were compelled to produce “any litigation agreements relating to this

   matter entered into between MarkMonitor and the Plaintiffs.” Ex. 13 (Charter ECF 181) at 7-8.

   Following that order, Plaintiffs produced a January 29, 2016, statement of work with MarkMonitor

   (the “2016 SOW”)—a document they had failed to disclose in this case. Ex. 14 (Charter ECF 400,

   Feb. 23, 2021 Hr’g Tr.) 50:12-16, 72:9-14; Ex. 15 (Charter ECF 287-1, Declaration of Matthew


                                                      9
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 15 of 37 PageID# 32380




   J. Oppenheim (“Oppenheim Declaration”)), ¶ 5. As is now clear from the Charter record, the 2016

   SOW governs the 2016 Project, an effort that was directed by Plaintiffs’ outside counsel to

   generate the evidence they used to prove direct infringement in this case. Id. Specifically,

   “Plaintiffs’ litigation counsel … prepared a spreadsheet of some 7,200 hashes … to investigate

   further based on counsel’s analysis of the RIAA Notice Program,” “MarkMonitor attempted to

   download files associated with the 7,200 hashes,” and “[t]he downloaded files were then analyzed

   by another third party vendor, Audible Magic, and counsel added the results of that analysis to

   counsel’s spreadsheet.” Ex. 30 (Charter ECF 436) at 5. MarkMonitor was also to “




                               . Ex. 16 (216 SOW); see also Ex. 15 (Oppenheim Declaration), ¶ 9.

          The reason for the 2016 Project also is now clear. As described in the Charter record, prior

   to and during the Claims Period, when MarkMonitor downloaded a file from a P2P network,

   authenticated it through Audible Magic, and issued an infringement notice—contrary to the trial

   testimony in this case—it did not retain the downloaded file. Ex. 17 (Charter ECF 408) at 1. It

   only retained the file’s hash identifier. Id. at 3. Thus, the 2016 Project was initiated to remedy this

   defect: “to go look for and download files associated with [the 7,200] infringing hashes” identified

   by the RIAA. Ex. 14 (Charter ECF 400, Feb. 23, 2021 Hr’g Tr.) 66:6-10, 67:21-23, 68:15-22. The

   files were then resubmitted for reauthentication by Audible Magic, see Ex. 30 (Charter ECF 436)

   at 5, recreating the process that Plaintiffs claimed to have employed years earlier, before sending

   notices to Cox. MarkMonitor also prepared a report detailing the outcome of this process (known

   as the “Hash Report”), indicating which of the files that had previously been the subject of notices

   could no longer be identified or verified. Ex. 30 (Charter ECF 436) at 5; Ex. 14 (Charter ECF



                                                     10
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 16 of 37 PageID# 32381




   400, Feb. 23, 2021 Hr’g Tr.) 69:11-22; Ex. 17 (Charter ECF 408) at 8; Ex. 18 (Charter ECF 390)

   at 7-8; Ex. 16 (2016 SOW). In short, the 2016 Project was tantamount to an audit of the 2012–

   2014 data, a process that Plaintiffs’ counsel had represented to this Court did not occur. See Ex.

   12 (Nov. 12, 2019 Hr’g Tr.) 6:1-10.

                  2.      The music files on the Hard Drive were downloaded from P2P
                          networks in 2016, years after the infringements alleged here.

          In Charter, Plaintiffs were ordered to produce a version of the Hard Drive with complete

   metadata. Ex. 19, Charter ECF 164 at 7-8. The version that was produced (the “Charter Hard

   Drive”) contains tens of thousands of files that were missing from the version produced in this

   case. See Ex. 15 (Oppenheim Declaration), ¶ 9. Based on the public Charter record, the drives

   otherwise appear to be the same. The files missing from the Cox Hard Drive, known as “PCAP

   files,” or “packet capture logs,” were specifically created to confirm the information that Plaintiffs

   had tried so hard to avoid disclosing in Cox—namely, “when and where each of the audio files on

   the drive was downloaded.” Id.; see also Ex. 16 (2016 SOW). As Plaintiffs’ counsel confirmed,

   the Charter Hard Drive “contain[ed] all of the 2016 downloads” from the 2016 Project “for the

   purpose of informing Plaintiffs’ potential litigation strategy in [Charter] and other cases against

   other ISPs.” Ex. 15 (Oppenheim Declaration), ¶¶ 5, 9. Thus, the PCAPs confirmed that the files

   on both hard drives were downloaded in 2016. They were not produced in this case, nor was any

   disclosure made acknowledging their existence.

                  3.      The Hard Drive files were (purportedly) verified by Audible Magic in
                          2016, but MarkMonitor concealed the existing Audible Magic data
                          and (again) destroyed the rest of it.

          The revelation that the files on the Hard Drive were downloaded in 2016 means that the

   MarkMonitor Spreadsheet, which consists of data from 2014 and earlier, and which was Plaintiffs’

   evidence that Audible Magic had verified the identity of any downloaded songs before notices


                                                    11
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 17 of 37 PageID# 32382




   were sent, did not in fact document the verification of the downloads that Plaintiffs used to prove

   infringement—files from 2016 that were on the admitted Hard Drive.

          This is not to say that Plaintiffs made no attempt to verify these post-hoc downloads. They

   did. They just omitted to disclose or produce that evidence in this case. Specifically, in connection

   with the 2016 Project, MarkMonitor was required to re-submit the newly re-downloaded files to

   Audible Magic for analysis. Ex. 30 (Charter ECF 436) at 5; Ex. 16 (2016 SOW). As argued in

   Charter, the only surviving evidence of Audible Magic’s work, however, is the Hash Report. Ex.

   17 (Charter ECF 408) at 8-9; see also id. Although it is the only existing evidence of Audible

   Magic’s 2016 verification of the Hard Drive files, and although it may well call into question

   whether all those files could be found on the Internet and whether they were all successfully

   verified, it was neither produced, nor identified, nor logged as privileged in this case.

          The reason that the Hash Report is the only evidence of Audible Magic’s 2016 work is

   because Plaintiffs failed to retain the rest. Ex. 14 (Charter ECF 400, Feb. 23, 2021 Tr.) 102:5-

   105:25, 109:11-110:12; Ex. 20 (Charter ECF 374) at 2. The Audible Magic 2016 transaction data

   was expressly generated in anticipation of litigation. Ex. 14 (Charter ECF 400, Feb. 23 2021 Tr.)

   60:6; Ex. 15 (Oppenheim Declaration), ¶ 5; Ex. 16 (2016 SOW). And despite the obligation to

   retain such evidence, discovery in Charter has revealed that Plaintiffs did not send MarkMonitor

   a litigation hold notice until 2018, two years after the 2016 Project, and Audible Magic does not

   appear to ever have received one. Ex. 14 (Charter ECF 400, Feb. 23, 2021 Tr.) 46:9-48:5, 110:13-

   20; see also Ex. 17 (Charter ECF 408) at 5, n.4. Based on these disclosures, the Charter court

   ordered production of the Hash Report, which Plaintiffs had withheld as work product. Ex. 30

   (Charter ECF 436) at 4-9.




                                                    12
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 18 of 37 PageID# 32383




          C.    Plaintiffs’ Discovery Violations Laid the Groundwork for Their Trial
          Misrepresentations

          In its initial set of discovery requests, Cox sought documents evidencing the nature and

   extent of Plaintiffs’ relationship with MarkMonitor. Ex. 21 (Cox’s 1st RFPs) at RFP 141, 142.6

   Plaintiffs initially proposed producing “relevant agreements with MarkMonitor relating to notices

   of infringement sent to Cox on behalf of Plaintiffs that are in Plaintiffs’ possession, custody, or

   control, to the extent located following a reasonable search.” Ex. 25 (Pls.’ Supp. Resp. & Obj. to

   Cox’s 1st RFPs), RFPs 141, 142. Neither Cox’s request nor Plaintiffs’ response had a time

   limitation. Plaintiffs, however, supplemented their response and instead proposed to produce

   MarkMonitor’s 2012–2014 “analyses” of the infringement data, among other types of documents.

   Id., RFP 141; see also Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 69:15-23.

          Cox moved to compel and explained that it sought documents concerning MarkMonitor’s

   work for Plaintiffs as related to this litigation. Ex. 27 (ECF 75) at 19-21. Cox also argued that

   Plaintiffs’ limitation of “analyses” to the 2012–2014 timeframe would improperly exclude any

   documents “relating to the notices of infringement sent to Cox” that were created after the time

   period but concerned the system used, the notices sent, and the infringement alleged during the

   Claims Period. Id. at 20. Plaintiffs agreed that for documents “regarding the reliability of the

   MarkMonitor system used to produce the copyright notices sent to Cox,” they would expand their

   production “beyond 2012 to 2014.” Id. at 24.




   6
    Cox’s requests were defined to include Plaintiffs’ “agents” and “representatives.” Ex. 21 (Cox’s
   1st RFPs) at Definition 1. The RIAA acted as Plaintiffs’ agent for purposes of entering into
   agreements with MarkMonitor and used Plaintiffs’ counsel to negotiate the agreements. Ex. 22
   (Plaintiffs’ Amended Rule 26(a)(1) Disclosures); see also Ex. 23 (Charter ECF 448-1, Declaration
   of Steven Marks), ¶¶ 4-5; Ex. 15 (Oppenheim Declaration), ¶¶ 3-10. Cox also sought from the
   RIAA documents that encompassed such agreements. Ex. 24 (Cox’s Subpoena to the RIAA) at
   Request Nos. 3, 8-9, 21.
                                                   13
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 19 of 37 PageID# 32384




          At the hearing, Plaintiffs argued for the sufficiency of their proposed production, which

   they now characterized as comprising, in part, “the evidence that MarkMonitor has captured for

   purposes of the case,” including “all the music,” and “[d]ocuments to show the information

   concerning the infringement of the copyrighted works in suit by their subscribers.” Ex. 26 (Jan.

   25, 2019 Hr’g Tr.) 68:14-20. This would include, of course, the Hard Drive files, which,

   unbeknownst to Cox at the time, were downloaded in 2016, as well as the PCAPs and the Hash

   Report that were not produced.

          Over Plaintiffs’ objection, the Court ultimately also ordered the “production of the

   documents that are sufficient to show the relationship between MarkMonitor and each individual

   plaintiff.” Id. 73:1-5. Plaintiffs’ counsel asked for clarification as to what should be produced and

   the Court explained: “[I]f you signed a contract with [MarkMonitor], if you have a written

   agreement, if you have an understanding, you know, a letter agreement that says you’re going to

   do this, we will pay you this, you provide me with these services, these are your obligations, these

   are my obligations, that kind of agreement or description of the relationship between MarkMonitor

   and your clients … with respect to … the program at issue in this case,” those documents must be

   produced. Id. 73:16-74:4.

          A month later, seemingly consistent with that order, Plaintiffs produced a consulting

   agreement between their outside counsel and MarkMonitor, dated November 1, 2018, relating to

   MarkMonitor’s assistance with preparing for this litigation (the “2018 Consulting Agreement”).

   The 2018 Consulting Agreement references four earlier agreements between MarkMonitor and the

   RIAA: a December 20, 2011, Master Agreement (the “Master Agreement”), and three subsequent

   Statements of Work executed in 2012, 2013, and 2014, specifying the services to be rendered

   pursuant to the Master Agreement (the “SOWs”) in connection with Plaintiffs’ investigation of



                                                    14
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 20 of 37 PageID# 32385




   infringement on P2P networks. Ex. 29. While Plaintiffs did not produce those other agreements,

   Plaintiffs’ agent, the RIAA, which was represented by the same counsel, produced them—and on

   the same day. Thus, Plaintiffs de facto represented that these documents—the Master Agreement,

   the SOWs, and the 2018 Consulting Agreement—were what Plaintiffs had been ordered to

   produce: all the agreements describing “the relationship between MarkMonitor and your clients”

   with respect to “the program at issue in this case.” See Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 73:1-74:4.

          MarkMonitor later produced the 2016 SOW in a production that also included facially non-

   responsive agreements between MarkMonitor and the RIAA concerning banner advertisements,

   university networks, and other matters clearly unrelated to the case. The 2016 SOW document on

   its face is not linked to the ISP notice program that led to this litigation. Rather, it merely notes

   that, like the various other non-responsive agreements MarkMonitor produced at the same time, it

   was entered into pursuant to the overarching Master Agreement. Moreover, the production of the

   2016 SOW by MarkMonitor was juxtaposed with Plaintiffs’ and the RIAA’s failure to produce it,

   notwithstanding its purported compliance with the Court’s order to produce any “agreement or

   description of the relationship between MarkMonitor and your clients … with respect to … the

   program at issue in this case.” Since the Charter record makes it clear that the 2016 SOW was in

   Plaintiffs’ and RIAA’s possession, see supra at 9-10, that failure was tantamount to an affirmative

   representation by Plaintiffs that the 2016 SOW did not fit that description.

          Further, on several occasions, Plaintiffs effectively disclaimed that the 2016 SOW had

   anything to do with this case. First, in defending against Cox’s spoliation motion, they argued that

   MarkMonitor had not destroyed any evidence at a time when litigation was anticipated and, to that

   end, asked MarkMonitor’s Bahun to represent under oath that

                                                                          Ex. 4 (ECF 538-1) Appx. 1



                                                    15
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 21 of 37 PageID# 32386




   ¶ 11. That attestation was untrue. The 2016 SOW specifically states that it was entered “in

   anticipation of litigation,” Ex. 15 (Oppenheim Declaration), ¶ 5, and the position Plaintiffs have

   taken in Charter is that it directly relates the notices sent between 2012-2014 and assessing their

   utility for litigation against ISPs. Id., ¶¶ 5, 9; Ex. 18 (Charter ECF 390) at 5-6. Similar candor on

   this point in this case would have unmasked the 2016 Project. Presumably because that

   consequence was foreseeable, such candor was lacking.

          Beyond that, at the hearing on Plaintiffs’ motion in limine to preclude the version of the

   MarkMonitor Spreadsheet containing post-Claims Period data, the Court asked Plaintiffs whether

   “there [was] any evidence in the case that the purpose [for compiling that post-Claims Period data]

   was to go back and look at the accuracy of the [MarkMonitor] documents or information,” Ex. 12

   (Nov. 12, 2019 Hr’g Tr.) 6:1-8, and Plaintiffs’ counsel represented that “[t]here is no indication

   that that’s the case at all,” id. 6:9-10. The 2016 Project, of course, compiled “evidence” for the

   specific “purpose … [of] go[ing] back and look[ing] at the accuracy of the [MarkMonitor]

   documents and information.” Plaintiffs’ point-blank assurance to the Court that no evidence of this

   nature existed “at all” was false and calculated to avoid unravelling the whole tapestry of falsehood

   that surrounded the origins of the Hard Drive and its relation to the MarkMonitor Spreadsheet.

                                             ARGUMENT

          The Charter record reveals that key evidence Plaintiffs used to win their $1 billion

   judgment—the Hard Drive and the MarkMonitor Spreadsheet—were not what Plaintiffs told the

   Court and the jury that they were. During the entirety of discovery and pre-trial proceedings, on at

   least eight occasions, Plaintiffs misrepresented and concealed the 2016 origins of the Hard Drive

   and the solely post hoc connection between the files on it, the proof of verification in the

   MarkMonitor Spreadsheet, and the notices of alleged infringement. Plaintiffs’ misconduct

   materially impaired Cox’s ability to prepare and present its defense and misled the jury. Cox should
                                                    16
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 22 of 37 PageID# 32387
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 23 of 37 PageID# 32388




          A.      Plaintiffs Misrepresented the Provenance of the Hard Drive and Its
                  Contents, Both in Discovery and at Trial.

          Plaintiffs repeatedly and intentionally misled the Court and the jury as to the provenance

   of the Hard Drive. In so doing, they improperly evaded challenges to its admissibility and

   credibility. See supra at 4-5. A “party’s subornation of, or engagement in, perjury during trial

   constitutes fraud, misrepresentation, or misconduct within the purview of Rule 60(b)(3).” Ebersole

   v. Kline-Perry, 292 F.R.D. 316, 322 (E.D. Va. 2013). By the Rule’s plain language, misconduct

   or misrepresentations need not amount to fraud to constitute a predicate for post-trial relief.

                  1.       Plaintiffs misrepresented the origins of the Hard Drive in pre-trial
                           motions practice.

          To oppose Cox’s motion in limine to exclude the Hard Drive on the ground that it contained

   evidence compiled after the relevant period, Plaintiffs submitted a MarkMonitor declaration

   describing the exhibit as “a hard drive of the audio files

                 ,” Ex. 4 (ECF 538-1), Appx. A, ¶ 24, and represented that it contained “

                         ” used for this purpose, id., Appx. 1, ¶ 20. This was highly misleading: because

   Plaintiffs had concealed the entire 2016 Project—the 2016 SOW, the PCAPs, and the Hash

   Report—the only “Audible Magic verification” disclosed at that time was the verification

   performed prior to notices being sent between 2012–2014 and documented on the MarkMonitor

   Spreadsheet. Id. ¶19. Thus, the only reasonable inference from MarkMonitor’s sworn statement

   was that the Hard Drive files were the files verified in that period. They were not, and Plaintiffs

   knew they were not.

          Plaintiffs compounded that misrepresentation by additionally describing the MarkMonitor

   declaration as averring that the Hard Drive contained the “digital files that were the basis of

   MarkMonitor’s infringement notices to Cox.” Ex. 5 (ECF 538) at 22. Plaintiffs and their counsel

   also knew this to be false: files downloaded and verified in 2016 could not have been the basis for

                                                     18
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 24 of 37 PageID# 32389




   infringement notices sent between 2012–2014. Relying on these misrepresentations, the Court

   denied Cox’s motion, deferring the question of admissibility to trial. Ex. 6 (ECF 590) at 3.

                   2.    Plaintiffs misrepresented the origins of the Hard Drive at trial.

          At trial, Cox continued to press on the origins of the Hard Drive files, and Plaintiffs

   continued to mislead. Frederiksen-Cross described the exhibit as “the hard disc” and agreed that it

   contained the files “captured during [the] downloading step in” the verification process. Ex. 7

   (Trial Tr.) 515:15-22. She explained that “I imagine [the files] were just copied from the

   [MarkMonitor] system onto the hard drive,” id. 516:4-5, affirming that “that’s what’s on the hard

   drive. The [files] that were downloaded [and] matched, those were all saved to the hard drive,” id.

   515:5-516:20.

          While there is no reason to believe that Frederiksen-Cross knew her testimony was false,

   Plaintiffs did. And their misrepresentations matured into suborning intentional falsehood during

   the testimony of Bahun. Pressed to reveal when MarkMonitor actually downloaded the files on the

   Hard Drive, Bahun testified that they were downloaded on “different dates,” including “some of

   them” that were stored on MarkMonitor’s “system when they were first downloaded from the

   Internet.” Id. 708:3-709:14. Some files, he said, were “downloaded multiple times … throughout

   the course of the time period we are talking about”; that is, before the notices were sent between

   2012–2014. Id. at 709:7-14.

          That testimony was false, and both Plaintiffs and Bahun knew that it was false. The Charter

   record proves that every single file on the Hard Drive was downloaded from a P2P network, not

   on “different dates” during the Claims Period, but in February or March 2016. And Plaintiffs, their

   counsel, and Bahun, their witness, knew about the 2016 Project. Ex. 18 (Charter ECF 390) at 5-6.

   In sum, they knew that the files on the Hard Drive were downloaded years after the fact. They

   chose to provide false testimony to deflect from the origins of this key piece of evidence because
                                                   19
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 25 of 37 PageID# 32390




   the revelation of the true origin of this data would have made it less credible—which Plaintiffs

   also knew—and explains why they repeatedly undertook to conceal that fact.

           B.      Plaintiffs Deliberately Concealed the Existence of the 2016 Project.

           These misrepresentations were made possible by Plaintiffs’ active concealment throughout

   the case of the 2016 Project and the evidence that would have undermined the foundation for and

   the credibility of their infringement evidence, as well as their obligation to maintain the data.

           Both the Fourth Circuit and this Court have repeatedly held “that an adverse party’s failure,

   either inadvertent or intentional, to produce [ ] obviously pertinent requested discovery material in

   its possession is misconduct under the meaning of Rule 60(b)(3).” Schultz, 24 F.3d at 630. For

   example, in Square Const. Co. v. Washington Metro. Area Transit Auth., the court held that the

   movant “met its burden of showing the fact of misconduct on the part of an adverse party in the

   form of [the defendant’s] failure to produce” a key document “pursuant to a proper request.” 657

   F.2d 68, 71-72 (4th Cir. 1981); see also, e.g., Ebersole, 292 F.R.D. at 322 (vacating judgment

   where the plaintiff “failed to produce or, at the very least, disclose the existence of highly pertinent

   evidence responsive to Defendant’s discovery requests”).

           Like the discovery violations in Schultz, Square Construction, and Ebersole, Plaintiffs’

   failure to produce or disclose the PCAPs, the Hash Report, the 2016 Audible Magic data, and their

   concealment of the relationship between the 2016 SOW and the ISP notice program (i.e., the

   program through which the evidence used in this case was compiled) constituted a failure to

   disclose plainly relevant material that had been requested by Cox and ordered by the Court.

           As for the PCAPs, the Hash Report, and the 2016 Audible Magic data, there was simply

   no excuse for Plaintiffs’ failure to produce them, or at least to disclose and identify them on a

   privilege log. Each of these documents goes to the provenance of the Hard Drive, which was

   produced, admitted as evidence, and treated by Plaintiffs as critical to their case. Likewise, by
                                                     20
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 26 of 37 PageID# 32391




   extension, they bear on the accuracy of the MarkMonitor Spreadsheet, as those data constitute a

   de facto check on whether the verifications purportedly performed prior to notices being sent

   between 2012–2014 are the same as those performed in 2016. Since Plaintiffs produced the Hard

   Drive, these materials should also have been disclosed. At a minimum, they fell within Plaintiffs’

   commitment to the Court that they would produce documents “regarding the reliability of the

   MarkMonitor system” and “the evidence that MarkMonitor has captured for purposes of the case,”

   including “all the music,” and “[d]ocuments to show the information concerning the infringement

   of the copyrighted works in suit by their subscribers.” Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 68:14-20.

          Plaintiffs may argue that the PCAPs, the 2016 Audible Magic data, and the Hash Report

   were protectible work product. But that argument cannot survive the disclosures in Charter. It is

   inconsistent with the production of the Hard Drive that was generated as part of the same project,

   and even if a work-product claim could be made, these materials should have been identified on a

   privilege log. That act would have allowed the Court to address any work-product invocation.7 It

   also would have revealed the 2016 Project, which, in turn, would have laid bare the true origins of

   the Hard Drive.

          Plaintiffs may also argue that these documents fall outside the discovery period. But that

   argument founders on the fact that Plaintiffs represented to the Court that they would produce

   documents “regarding the reliability of the MarkMonitor system used to produce the copyright




   7
     Any assertion of work product would have been unsustainable. In Charter, Plaintiffs were
   ordered to produce the 2016 SOW to substantiate their claim that the 2016 Project was protected
   by the work-product doctrine. Ex. 13 (Charter ECF 181 at 6-7). However, Plaintiffs were
   subsequently ordered to produce the complete Charter Hard Drive (i.e., the version with the
   PCAPs), Ex. 19, Charter ECF 164 at 7-8, and the Hash Report, Ex. 14 (Charter ECF 400, Feb.
   23, 2021 Hr’g Tr.) 110:21-111:15; see also Ex. 30 (Charter ECF 436) at 6-9. The work-product
   doctrine cannot be used as both a sword and a shield. And Plaintiffs cannot rely on some of the
   fruits of the 2016 Project—namely, the Hard Drive—while withholding other data.
                                                   21
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 27 of 37 PageID# 32392




   notices sent to Cox,” and that they would expand their production of those documents “beyond

   2012 to 2014.” Id. at 24. Indeed, the Hard Drive was a 2016 document. And if it was discoverable,

   so were the other 2016 documents showing the circumstances under which it was created.

           As for the 2016 SOW, no privilege or scope arguments apply because Plaintiffs were

   ordered in this case to produce documents sufficient to show “the relationship and agreements

   between the plaintiff and MarkMonitor” with respect to “the program at issue in this case,” without

   any privilege objection and no timeframe limitation. Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 73:3-13.

   Plaintiffs and RIAA produced five such agreements, including the 2018 Consulting Agreement.

   Of course, the proper disclosure of the 2016 SOW would have exposed the true nature of the Hard

   Drive and its fallacious connection to the MarkMonitor Spreadsheet. But litigation advantage does

   not justify violating a court order.

           Moreover, Plaintiffs’ treatment of the 2016 SOW was not merely a sin of omission. It

   matured into an affirmative act of concealment when Plaintiffs told the Court that the “

                                                                                         ,” Ex. 9 (ECF

   352) at 5; see also Ex. 4 (ECF 538-1) Appx. 1 ¶¶ 11, 13, 14, although the 2016 SOW was executed

   in anticipation of litigation, Ex. 15 (Oppenheim Declaration), ¶ 5, including this litigation.

   Likewise, they stated that “[t]here is no indication … at all,” that “there [was] any evidence in the

   case that the purpose [of compiling post-Claims Period data] was to go back and look at the

   accuracy of the [MarkMonitor] documents or information,” Ex. 12 (Nov. 12, 2019 Hr’g Tr.), 6:1-

   10, even though the purpose of the project outlined in the 2016 SOW was exactly that. The purpose

   of these representations was to both deny that Plaintiffs had any preservation obligation prior to

   this case and that they had not gone back and validated the accuracy of the MarkMonitor

   documents. Both claims are false in light of the 2016 Project.



                                                    22
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 28 of 37 PageID# 32393




           Plaintiffs may object that the 2016 SOW was beyond the scope of the Court’s order because

   it was not part of “the program at issue in this case.” See Ex. 26 (Jan. 25, 2019 Hr’g Tr.) 73:1-72:4.

   But that cannot be. MarkMonitor’s work under the 2016 SOW produced the evidence that

   Plaintiffs actually used in this case to prove infringement: namely, the Hard Drive files. Indeed,

   Plaintiffs’ production of the 2018 Consulting Agreement demonstrates the (selectively) expansive

   approach they took to this order. The 2016 SOW was just as much a part of “the program at issue

   in this case” as any of the agreements Plaintiffs chose to produce.

           That the 2016 SOW was later produced by MarkMonitor among a production that also

   included a series of unrelated agreements does not mitigate Plaintiffs’ misconduct. The Court

   ordered Plaintiffs (and, by extension, their agent, the RIAA) to provide the agreements. The

   Charter record demonstrates that Plaintiffs and the RIAA possessed copies of the 2016 SOW, see

   supra at 8-12; hence, Plaintiffs’ failure to produce it in response to that order was tantamount to

   an affirmative representation that it did not exist, or at least did not relate to this case. This de facto

   misrepresentation was particularly troubling because the document itself does not reflect its

   relevance to the case. Further, Plaintiffs induced MarkMonitor to represent that “

                                                                                              ,” Ex. 9 (ECF

   352) at 5; see also Ex. 4 (ECF 538-1) Appx. 1 ¶¶ 11, 13, 14, and they represented to the Court that

   there “[t]here is no indication … at all,” Ex. 12 (Nov. 12, 2019 Hr’g Tr.) 6:9-10, that “there [was]

   any evidence in the case that the purpose [for compiling that post-Claims Period data] was to go

   back and look at the accuracy of the [MarkMonitor] documents or information,” id. 6:1-10.

           C.      Plaintiffs and Their Agents Failed to Retain or Disclose 2016 Audible Magic
                   Data That Were Expressly Generated in Anticipation of Litigation.

           In addition to downloading new copies of the files that were purportedly the source of the

   notices sent between 2012–2014, one of the purposes of the 2016 Project was for Audible Magic


                                                       23
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 29 of 37 PageID# 32394




   to verify that those files did indeed contain copies of Plaintiffs’ copyrighted works. See supra at

   10. The Charter record demonstrates that Audible Magic performed identification and verification

   on the newly downloaded files, but Plaintiffs and their agents failed to disclose or retain much of

   that data, despite knowledge that its creation was expressly commissioned in anticipation of

   litigation and did not even issue a litigation hold. See supra at 10-12.

          Plaintiffs’ destruction and concealment of the 2016 Audible Magic data constitutes the kind

   of failure to disclose “obviously pertinent requested discovery material in its possession” that

   constitutes “misconduct under the meaning of Rule 60(b)(3).” See Schultz, 24 F.3d at 630; see also

   Ebersole, 292 F.R.D. at 322. To the extent there exists documentation of the results of Audible

   Magic’s work, it falls squarely within the category of “documents concerning analysis of the

   reliability of the MarkMonitor system used to produce the copyright notices sent to Cox upon

   which Plaintiffs will rely in this litigation,” which Plaintiffs agreed to produce. See supra at 13.

          It cannot be disputed that the 2016 Project was intended to both generate and verify

   evidence of the reliability of the notices sent between 2012–2014. The evidence that Audible

   Magic compiled in 2016, but that Plaintiffs failed to retain, should have been produced. Plaintiffs

   cannot rely on downloads and verifications performed in 2016 to prove infringement that occurred

   between 2012–2014, while also arguing that the lost and concealed 2016 verification data are

   somehow unrelated to “the reliability of the MarkMonitor system used to produce the copyright

   notices sent to Cox.” Ex. 28 (ECF 82).

          Finally, the failure by both MarkMonitor and Audible Magic to retain the transaction logs

   from Audible Magic’s 2016 analysis—an analysis of evidence used to prove infringement in this

   case that was expressly performed in anticipation of litigation—constitutes spoliation. See, e.g.,

   SunTrust Mortg., Inc. v. AIG United Guar. Corp., 2011 WL 1225989, at *14 (E.D. Va. Mar. 29,



                                                    24
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 30 of 37 PageID# 32395




   2011). Plaintiffs’ success in concealing this data by allowing its destruction did not somehow

   relieve them of their retention obligations or the sanctions they may have suffered if their failures

   had been known to Cox.

   II.    Plaintiffs’ Misconduct Prevented Cox from Fully Presenting Its Case at Trial.

          Litigation misconduct prevents the wronged party from fully and fairly presenting its case

   where it “denie[s] [the defendant] access to evidence that could well have been probative on an

   important issue” or “close[s] off a potentially fruitful avenue of direct or cross examination.”

   Ebersole, 292 F.R.D. at 322-323 (citation omitted); see also Schultz, 24 F.3d at 630 (defendant

   was prevented from fairly presenting case where withheld evidence “would have helped … bolster

   its defense” and “may well have led defense attorneys to additional evidence”).

          Here, the Hard Drive and the MarkMonitor Spreadsheet were both critical parts of

   Plaintiffs’ direct infringement case. Plaintiffs’ persistent and successful effort to conceal their

   origins and fallacious connection to one another materially impaired Cox’s ability to rebut

   Plaintiffs’ direct infringement case.

          A.      Plaintiffs’ misconduct resulted in admission of the Hard Drive.

          Both of Plaintiffs’ infringement experts heavily relied on the Hard Drive. McCabe testified

   that unless a file allegedly comprising a work-in-suit was located on the Hard Drive, it could not

   meet one of his four “requirements” needed to verify infringement. Ex. 7 (Trial Tr.) 788:6-789:4.

   Frederiksen-Cross pointed to the Hard Drive when opining on the reliability of the MarkMonitor

   and Audible Magic systems. Id. at 515:15-516:20. Plaintiffs also relied on the Hard Drive at trial

   by claiming that anyone could simply listen to the audio files on it to confirm the accuracy of the

   MarkMonitor and Audible Magic systems. See, e.g., id. 163:17-18 (Kokakis testifying that he did

   a “spot check” of the files); id. at 224:18-225:19 (McMullan testifying that he listened to 100 of

   the files to dispel doubt as to whether the files contained copies of Plaintiffs’ works); id. 1193:6-

                                                    25
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 31 of 37 PageID# 32396




   18 (Flott testifying to the same); id. 647:16-21 (Plaintiffs’ counsel explaining to the Court during

   a sidebar that “the files went through Audible Magic, which did essentially the equivalent of a

   digital listening.”); id. at 665:7-666:8 (playing certain tracks from the Hard Drive).

          Plaintiffs’ disclosure of the provenance of the files on the Hard Drive would have

   materially impacted Cox’s (repeated) challenges to its admissibility. At a minimum, concealment

   of the Hard Drive’s origin “closed off” not only “a potentially fruitful avenue of direct or cross-

   examination,” Ebersole, 292 F.R.D. at 322-323, it also immunized Plaintiffs’ witnesses from “an

   avenue [of] … cross examination” that was actually pursued but was frustrated by Plaintiffs’

   misconduct. Moreover, rather than merely arguing that Plaintiffs had not proved the connection

   between the notices and the Hard Drive files, Cox could have stated as fact that the files were not

   those used to generate the notices, such that the MarkMonitor Spreadsheet was a verification of

   nothing, and while Plaintiffs had instructed Audible Magic to separately verify the files admitted

   into evidence after the fact, they failed to preserve that evidence despite an obligation to do so.

          With that record, the Court might well have granted Cox’s motions to exclude the Hard

   Drive for lack of foundation, either before or during trial. The consequences for Plaintiffs’ case

   would have been dramatic: without the Hard Drive, Plaintiffs’ expert McCabe could not have

   opined that all of the works-in-suit were infringed by virtue of being contained within one of those

   files. Frederiksen-Cross could not have testified that she used the Hard Drive to confirm the

   accuracy of Audible Magic’s verifications. And more broadly, Plaintiffs could not have repeatedly

   pointed to the Hard Drive as tangible evidence of the infringed works.

          Further, even if the Court ultimately admitted the Hard Drive, if the jury had known that

   the drive was not a repository of Plaintiffs’ infringement evidence but a re-creation of it generated

   purely for purposes of litigation, Plaintiffs’ direct infringement and trial narrative would have been



                                                    26
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 32 of 37 PageID# 32397




   significantly weakened. Plaintiffs would have been forced to connect the Hard Drive files to the

   notices by arguing that the matching hash values effectively made them the same, and Cox would

   have been able to seek discovery and to offer expert testimony to challenge that connection. But

   Plaintiffs’ efforts to conceal origin of the files suggest that they feared what Cox might have found,

   and that the jury would not have made that leap. Indeed, since the post hoc origin of this evidence

   was revealed in Charter, Plaintiffs appear to have largely abandoned the MarkMonitor Spreadsheet

   and, on summary judgment, are now primarily attempting to prove direct infringement through the

   use of music experts whom they have commissioned to listen to each of the thousands of Hard

   Drive files at issue to verify they are what Plaintiffs claim them to be. Ex. 31 (Charter ECF 590-

   13), ¶¶ 14-15. In any event, whether matching hash values is sufficient to tie notices sent in 2012–

   2014 to works downloaded in 2016 is a factual issue that should have been resolved by the jury,

   not to mention one subject to discovery. Plaintiffs had no right to deny Cox a “full and fair

   opportunity” to litigate its defenses at trial.

           B.    Plaintiffs’ misconduct resulted in admission of the MarkMonitor
           Spreadsheet.

           Like the Hard Drive, the MarkMonitor Spreadsheet was elemental to Plaintiffs’ direct

   infringement case. It was extensively relied on by Frederiksen-Cross and McCabe, and it was the

   subject of extensive testimony from Bahun. See supra at 6-8. The exhibit provided Plaintiffs’

   evidence that files downloaded by MarkMonitor had been verified by Audible Magic to contain

   copies of Plaintiffs’ copyrighted works before notices were sent. Id.; see also Ex. 9 (ECF 352) at

   2-3. Without the exhibit, Plaintiffs would have been unable to prove direct infringement. Id. at 4.

           Plaintiffs’ concealment of the 2016 Project led to the admission of the MarkMonitor

   Spreadsheet. Yet if Cox had known that the files on the Hard Drive were downloaded in 2016, it

   could have moved to exclude the MarkMonitor Spreadsheet on the ground that it did not reflect


                                                     27
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 33 of 37 PageID# 32398




   the verification of the files in evidence but rather of a different set of files that were not retained.

   Indeed, Plaintiffs’ change of tactics in Charter in proving direct infringement has demonstrated

   the significance of this distinction. See supra at 27.

           Plaintiffs could have simply admitted that the files on the Hard Drive were downloaded in

   2016 and proved up any connection that they believe exists. But doing so would have revealed that

   they failed to retain the transaction logs documenting Audible Magic’s 2016 verification and

   concealed the Hash Report and the PCAPs. Unlike Plaintiffs’ claims with respect to the pre-2016

   Audible Magic logs, these logs were expressly created in anticipation of litigation and triggered

   Plaintiffs’ preservation obligations. See, e.g., Ex. 10 (Sept. 27, 2019 Hr’g Tr.) 49:3-6 (Court

   denying motion for sanctions but noting that “[i]f there is an obligation that you’ve entered into a

   contract to do something for litigation purposes, that’s a little bit different”).

           Likewise, Cox tried to admit a version of the MarkMonitor Spreadsheet created after the

   Claims Period that contained Audible Magic data raising issues about the reliability of the

   MarkMonitor system. See supra at 7-8. The Court precluded Cox from doing so based on

   Plaintiffs’ assertion that the data was irrelevant to the reliability of the MarkMonitor Spreadsheet,

   and that “there is no indication … at all” that MarkMonitor elicited that post-Claims Period data

   from Audible Magic for “the purpose [of] go[ing] back and look[ing] at the accuracy of the

   MarkMonitor documents or information.” Ex. 12 (Nov. 12, 2019 Hr’g Tr.) 6:1-10. The truth was

   that in 2016 Plaintiffs asked MarkMonitor to do exactly that. The MarkMonitor Spreadsheet

   should not have been admitted into evidence. Even if it were admitted, a fully informed jury might

   well have found Plaintiffs’ evidence inadequate.

   III.    Cox Presented Multiple Meritorious Defenses at Trial.

           For purposes of Rule 60(a)(3), a “meritorious defense” is one involving “evidence, which,

   if believed, would permit either the Court or the jury to find for the [moving] party.” United States
                                                      28
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 34 of 37 PageID# 32399




   v. Moradi, 673 F.2d 725, 727 (4th Cir. 1982). The movant, however, “is not required to establish

   a meritorious defense by a preponderance of the evidence[,] ... the mere assertion of facts

   constituting a meritorious defense in an original complaint” may be sufficient. Cent. Operating

   Co. v. Util. Workers of Am., 491 F.2d 245, 252 n.8 (4th Cir. 1974). The meritorious-defense

   requirement merely ensures that granting relief from the judgment under Rule 60(b) would not “in

   the end [be] a futile gesture” because a new trial would inevitably produce the same result. Boyd

   v. Bulala, 905 F.2d 764, 769 (4th Cir. 1990).

          Cox presented multiple defenses that could result in a different outcome if a new trial were

   ordered and Cox had access to the concealed evidence, as well as any follow-up fact and expert

   disclosures it would warrant. Armed with a complete record, Cox would be in a position to

   challenge Plaintiffs’ evidence of direct infringement, which might not even get to the jury, and, if

   it did, its credibility would be subject to significant questions. Cox also asserted defenses based on

   lack of evidence sufficient to prove Plaintiffs’ allegations of contributory infringement, vicarious

   liability, and willfulness. Although the jury ultimately decided against Cox on those defenses, all

   of them were sufficiently meritorious to survive (in whole or in part) Plaintiffs’ motion for

   summary judgment and their pre-verdict motion for judgment as a matter of law (and may still

   prove successful on appeal). Certainly, such a trial would not be a “futile gesture.”

   IV.    Considerations of Finality Are Outweighed by the Public Interest in Justice.

          In these circumstances, the public interest in finality must give way to its interest in “justice

   being done.” Schultz, 24 F.3d at 630 (citations omitted). The need to “establish finality of

   judgments … should never be used to thwart the objectives of the blind goddess of justice itself.”

   Square Construction, 657 F.2d at 72 (citations omitted). The interest in finality here is relatively

   low: the case is currently on appeal and unlikely to be decided before mid-2022. The public interest

   in justice, by contrast, is high: an unprecedented $1 billion judgment rooted in fraud and
                                                     29
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 35 of 37 PageID# 32400




   misconduct is an affront to the entire judicial system. Plaintiffs have committed a fraud on Cox,

   the Court, and the public.

   V.     Plaintiffs Should Be Compelled to Produce the Charter Materials

          It is Cox’s position that the current record before the Court provides a sufficient basis upon

   which to grant the requested relief. However, the Court has the power to allow a party to pursue

   post-judgment discovery when the moving party can make a “prima facie demonstration of success

   on the merits” or, alternatively, a “colorable claim.” See, e.g., Pearson v. First NH Mortg. Corp.,

   200 F.3d 30, 35 (1st Cir. 1999); Midwest Franchise Corp. v. Metromedia Restaurant Group, Inc.,

   177 F.R.D. 438, 440 (N.D. Iowa 1997). Accordingly, Cox respectfully requests that the Court order

   the production of the Charter Materials, which are likely to undermine the reliability of Plaintiffs’

   direct infringement evidence, further demonstrating the prejudice to Cox caused by Plaintiffs’

   misconduct.

                                             CONCLUSION

          For all of the foregoing reasons, Cox respectfully requests that this Court enter an indicative

   ruling under Rule 62.1 stating that it is inclined to grant Cox’s motion for relief from the judgment,

   or—at a minimum—that Cox’s motion raises a substantial issue that warrants further consideration

   by this Court. Upon receipt of such a ruling, Cox will move in the Court of Appeals for the Fourth

   Circuit for a limited remand to this Court to resolve Cox’s motion.

   Dated: December 27, 2021                              Respectfully submitted,

                                                         s/ Thomas M. Buchanan
                                                         Thomas M. Buchanan (VSB No. 21530)
                                                         J. Tyler McGaughey (VSB No. 78809)
                                                         WINSTON & STRAWN LLP
                                                         1901 L Street NW
                                                         Washington, DC 20036
                                                         Tel: (202) 282-5000
                                                         Fax: (202) 282-5100
                                                         Email: TBuchana@winston.com

                                                    30
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 36 of 37 PageID# 32401




                                                Email: TMcGaughey@winston.com

                                                Attorneys for Defendants Cox
                                                Communications, Inc. and CoxCom, LLC

   Of Counsel for Defendants

   Michael S. Elkin (pro hac vice)
   WINSTON & STRAWN LLP
   200 Park Avenue
   New York, NY 10166
   Tel: (212) 294-6700
   Fax: (212) 294-4700
   Email: MElkin@winston.com

   Jennifer A. Golinveaux (pro hac vice)
   WINSTON & STRAWN LLP
   101 California Street, 35th Floor
   San Francisco, CA 94111-5840
   Tel: (415) 591-1000
   Fax: (415) 591-1400
   Email: JGolinveaux@winston.com

   Geoffrey P. Eaton (pro hac vice)
   WINSTON & STRAWN LLP
   1900 L Street NW
   Washington, DC 20036
   Tel: (202) 282-5000
   Fax: (202) 282-5100
   Email: GEaton@winston.com

   Michael L. Brody (pro hac vice)
   WINSTON & STRAWN LLP
   35 W. Wacker Drive
   Chicago, IL 60601-9703
   Tel: (312) 558-5600
   Fax: (312) 558-5700
   Email: MBrody@winston.com




                                           31
Case 1:18-cv-00950-PTG-JFA Document 738 Filed 12/27/21 Page 37 of 37 PageID# 32402




                                  CERTIFICATE OF SERVICE

          I hereby certify that on December 27, 2021, the foregoing was filed and served

   electronically by the Court’s CM/ECF system upon all registered users.

                                                      s/ Thomas M. Buchanan
                                                      Thomas M. Buchanan




                                                 32
